                  UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF NORTH CAROLINA
                         DURHAM DIVISION

AMY BRYANT, MD,                 )
                                )
                   Plaintiff,   )
                                )
v.                              )
                                ) Case No. 1:23-cv-77
JOSHUA H. STEIN, et al.,        )
                                ) NOTICE OF APPEAL
                    Defendants, )
                                )
and                             )
                                )
PHILIP E. BERGER, et al.,       )
                                )
                   Intervenor- )
                   Defendants. )


    Intervenor-Defendants Timothy K. Moore, Speaker of the

North Carolina House of Representatives, and Philip E.

Berger, President Pro Tempore of the North Carolina Senate,

hereby appeal the portion of the Judgment and Permanent

Injunction (ECF No. 105)—entered on June 3, 2024—holding

that certain “provisions of North Carolina law are

preempted by federal law” and enjoining the State from

enforcing those provisions to the United States Court of

Appeals for the Fourth Circuit.




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    This notice of appeal is limited to the portion of the

Judgment and Injunction that enters judgment against

Intervenor-Defendants and enjoins the following provisions

of North Carolina law:

      a. N.C. Gen. Stat. § 90-21.83A, § 90-21.83B, § 90-

         21.93, and any other provisions of North Carolina

         law, to the extent they prohibit any healthcare

         provider other than a licensed physician from

         providing mifepristone;

      b. N.C. Gen. Stat. § 14-44.1, §90-21.83A, §90-21.83B,

         and any other provisions of North Carolina law, to

         the extent they require that mifepristone be

         provided in person;

      c. N.C. Gen Stat. § 90-21.83A, §90-21.83B, § 90-

         21.93, and any other provision of North Carolina

         law, to the extent they require scheduling an in-

         person follow-up visit after providing

         mifepristone or efforts to ensure such a follow-up

         appointment; and

      d. N.C. Gen. Stat. § 90-21.93, and any other

         provisions of North Carolina law, to the extent


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         they require reporting of non-fatal adverse events

         related to mifepristone to the FDA.

Judgment at 1–3. Intervenor-Defendants do not appeal the

remaining portion of the Judgment and Injunction, which

grants partial judgment to Intervenor Defendants and

dismisses Plaintiff’s remaining claims with prejudice.

    Respectfully submitted this 20th day of June, 2024.

/s/ W. Ellis Boyle                     /s/ Erin M. Hawley
W. Ellis Boyle                         Erin M. Hawley***
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             Attorneys for Intervenor-Defendants


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                      CERTIFICATE OF SERVICE

    I hereby certify that on June 20, 2024, I

electronically filed the foregoing with the Clerk of Court

by using the CM/ECF system which will send a notice of

electronic filing to all counsel of record.

                                       s/Erin M. Hawley
                                       Erin M. Hawley

                           Attorney for Intervenor-Defendants




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